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                                                                            FEB 18 2010 '-, .
                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA
                                                                     OFFICE OF THE CLERK
  UNITED STATES OF AMERICA,             )   CASE NO. 8:09CR287
                                        )
                     Plaintiff,         )
                                        )
              vs.                       ) ORDER GRANTING LEAVB TO
                                        ) SUBPOENA A NECESSARY
  YER YANG,                             ) WITNESS IN FORMA
                                        ) PAUPERIS
                     Defendant.         )

        This matter comes before the Court by Defendant Yer Yang, who. is

  seeking permission to serve a subpoena in forma pauperis and without

  prepayment of the witness fee or costs associated with serving the subpoena

  upon her co-defendant, Lee Vang. Defendant claims that subsequent to the

  arrest of both codefendants, co-defendant Lee Vang wrote a letter which

  exculpates, in whole or in part, Ms. Yang. Mr. Yang is scheduled for a plea

  before Judge Strom on March 1, 2010 at 1:30 a.m. in Courtroom # 5 in the

  United States Courthouse.

        On July 31, 2009, this Court determined that Ms. Yang is eligible for

  appointment of counsel pursuant to the Criminal Justice Act, 18 U .S.C.

  §3006A and the Amended Criminal Justice Act Plan for the District of

  Nebraska. See, filing #7.
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        Ms. Yang further moves this Court to issue an order directing the

  United States Marshal Service to serve Mr. Lee Yang at the time and place

  set out above without prepayment of costs or fees.

        Finding good cause, this Court HEREBY ORDERS that defendant's

  motion is granted and the United States Marshal Service shall serve the

  subpoena in forma pauperis and without prepayment of any fees or costs

  associated therewith and make return as provided by law.

        The Clerk is directed to issue the subpoena and to deliver it with

  sufficient copies, along with a copy of this order to the Marshal Service

  forthwith.

  Dated this   t~ay ofFebruary, 2010.
